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IN THE UNITED sTATEs DISTRICT COURT _F,LED B\{ _W__ .D_C_
FOR THE WEsTERN DISTRICT or TENNESSEE
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V. Cr. No. 05-20082-}3
RODERCUS FREEMAN
ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The arraignment in the above-styled case has been continued until Wednesday, 08/31/05 at
10:00 a.rn. lt appears to the court that the defendant's new counsel Was not notified of the hearing.
The ends of justice served by continuing the hearing outweigh the best interest of the public and the
defendant in a speedy trial.

The Court finds that the grounds for this delay justify excluding the period of 08/24/05 to
08/31/05 as excludable delay under Title 18 U.S.C. § 316l(h)(8)(A) and (h)(S)(B)(iv), to allow the
defendant continuity of counsel.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE; @§/27¢/@/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:05-CR-20082 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

